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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

MILLENNIUM FUNDING, INC., ef al.,

Vie

)
)

Plaintiffs, )
)
) Civil Action No. 1:21-cv-282 (RDA/TCB)
)

WICKED TECHNOLOGY LIMITED d/b/a )
VPN.HT, VPN.HT LIMITED, MOHAMED )
AMINE FAOUANI, JOHN OR JANE DOE )
d/b/a POPCORNTIME.APP, and DOES __)
1-100, )
)
)

Defendants.
ORDER

This matter comes before the Court on the parties’ Joint Notice of Tentative Settlement
(“Notice”). Dkt. 46. In their Notice, the parties request that the Court stay its decision on the
Wicked Defendants’ Motion to Dismiss (Dkt. 29) while the parties work to finalize and effectuate
their tentative settlement. Having considered the Notice, and for good cause shown, is hereby
ORDERED that any ruling on the Defendants’ Motion to Dismiss will not issue until after October
1, 2021. The Court’s stay will expire at 5:00 p.m. on October 1, 2021.’

Itis SO ORDERED.

Alexandria, Virginia
August 3/ , 2021

/s/
Rossie D. Alston, Jr,
United States District J udge

 

' This Order does not affect the Court’s consideration and resolution of Plaintiffs’ Motion
for Default Judgment (Dkt. 42) against Defendant Doe d/b/a POPCORNTIME.APP.
